                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                August 13, 2015
                              No. 10-15-00029-CR
                                 RICARDO SOTO
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                        From the 66[th] District Court
                              Hill County, Texas
                            Trial Court No. 38,173
                                       
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JUDGMENT

This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issue raised and finds no reversible error is presented.  Accordingly the trial court's judgment, signed on December 5, 2014, is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

